          Case 6:23-cv-00013 Document 12-4 Filed on 02/27/23 in TXSD Page 1 of 1


February 17, 2023

Dear Stephen Stamboulieh:

The following is in response to your request for proof of delivery on your item with the tracking number:
4207 7002 9514 8066 7431 3044 4445 93.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     February 16, 2023, 2:35 pm
Location:                                               HOUSTON, TX 77002
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 13.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
